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 4   Attorney for Defendant
     BRIAN PICKARD
 5

 6                                     UNITED STATES DISTRICT COURT

 7                                     EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                             No. 2:11-cr-00449-KJM-16

10                        Plaintiff,                       STIPULATION TO EXTEND TIME
                                                           FOR POSTING PROPERTY BOND
11                v.                                       BY TWO ADDITIONAL WEEKS
                                                           TO NOVEMBER 30, 2011
12   BRIAN PICKARD,
                                                           Court: Hon. Dale A. Drozd
13                        Defendant.
                                                 /
14

15                IT IS HEREBY STIPULATED between the parties that the time for defendant BRIAN

16   PICKARD to post the property bond with this Court in order to secure his pretrial release shall

17   be extended by two weeks from November 16, 2011, to November 30, 2011.

18                IT IS SO STIPULATED.

19                                                            BENJAMIN B. WAGNER
                                                              United States Attorney
20

21   /S/ZENIA K. GILG                                By:      /S/SAMUEL WONG
     ZENIA K. GILG                                            SAMUEL WONG
22   Attorneys for Defendant                                  Assistant U.S. Attorney
     BRIAN PICKARD                                            Dated: November 14, 2011
23   Dated: November 14, 2011

24                                                   ORDER

25                IT IS SO ORDERED.

26   DATED: November 14, 2011.

27
     ddad1:crim
28   pickard0449.stipord.extbond.wpd
